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           AFFIDAVIT IN SUPPORT OF SEARCH AND SEIZURE WARRANT


I, Amy L. Fryberger,being duly sworn, hereby depose and state as follows:
  I.    Training and Experience
           1. I am currently assigned to the Federal Bureau of Investigation's(FBI)Phoenix,
Arizona Field Office. 1 have been employed by the FBI as a Special Agent for ten years. As part
of my responsibilities, I am charged with investigating violations ofstatutes applying to human
trafficking. Prior to working human trafficking cases, I was assigned to work national security,
gang, and drug investigations. During the course of my career as a Special Agent with the FBI, I
have participated in the execution of numerous search warrants, seizure warrants, and arrests of
individuals for violation offederal law.
           2. I am familiar with the facts and circumstances described herein. This affidavit is
based upon my personal involvement in this investigation, my training and experience, and
information obtained from various law enforcement personnel and witnesses, including
information that has been reported to me either directly or indirectly, but does not purport to set
forth my complete knowledge or understanding ofthe facts related to this investigation. Unless
specifically indicated otherwise, all conversations and statements described in this affidavit are
related in substance and in• part only.
  II.   The Federal Indictment
            1.   On March 28, 2018,a Federal Grand Jury in Arizona returned a 93 count
 indictment charging Michael Lacey("LACEY"),James Larkin("LARKIN"),Scott Spear
("SPEAR"), and other current and former employees and principals of Backpage.com with
violations ofTitle 18, United States Code,Section 371 (Conspiracy); Title 18, United States
Code, Sections 1952(a)(3)(A)(Travel Act — Facilitating Prostitution); and Title 18 U.S.C. §§
 1956 and 1957, Concealment, International and Transactional Money Laundering and
 Conspiracy to Commit Money Laundering. A copy ofthe indictment is attached as Exhibit A.
            2. The indictment alleges that LACEY,LARKIN,SPEAR and others conspired to
 use the internet to commit violations ofthe Travel Act, specifically, that they knowingly
 facilitated the commission of prostitution related offenses that are in violation of state or local
 laws thought the internet by operating Backpage.com. The next 50 counts allege individual
 violations ofthe Travel Act. Each count relates to a specific advertisement that was posted on
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  Backpage where LACEY,LARKIN,SPEAR,and others are alleged to have knowingly
  attempted to facilitate prostitution crimes by permitting the ads to be posted and/or by
  affirmatively editing the ads. The remaining counts in the indictment allege several types of
  money laundering as well as a conspiracy to commit money laundering. Since its creation in
  2004, Backpage has earned approximately $500 million in prostitution-related revenue and it is
  alleged that LACEY,LARKIN,SPEAR,and others took various steps to launder the money,
  including routing the proceeds of Backpage's business account through seemingly-unrelated
  entities, wiring money into and out of foreign bank accounts, and converting proceeds into and
  out of bitcoin and other forms of cryptocurrency.
 III.    Purpose of Application for Seizure Warrant
          1.     This affidavit is made in support ofan application for a search warrant based on
  probable cause to search the following locations for records and materials that are relevant to the
  above mentioned crimes and for proceeds ofthe above referenced crimes.
                       i.    Subject Location 1: A residence owned by LACEY,located at 3300
                             East Stella Lane,Paradise Valley, Arizona 85253 (further described in
                             Attachment A-1);
                       ii.   Subject Location 2: A residence owned by Creek Hideaway LLC,
                             located at 10647 North State Route 89A,Sedona, Arizona (further
                             described in Attachment A-2);
                      iii.   Subject Location 3: A residence owned by LARKIN,located at 5555
                             North Casa Blanca Drive, Paradise Valley, Arizona 85253 (further
                             described in Attachment A-3);
                      iv.    Subject Location 4: A safe deposit box utilized by SPEAR,located at
                             Gainey Ranch Branch(Br 05)/NBA (Phoenix Metro Market-NE),
                             7375 East Doubletree Ranch Road,Scottsdale, Arizona 85258(further
                             described in Attachment A-4).
IV.       Facts in Support ofProbable Cause
          1.     A federal grand jury found LACEY,LARKIN, SPEAR,and others were involved
   in a conspiracy to commit several different forms of money laundering. From my training and
   experience,I know that individuals who engage in money laundering try to conceal their assets by
   maintaining multiple bank accounts, domestically and overseas, as well as in assets such as
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cryptocurrency that are not as readily discoverable by law enforcement officers. From my
involvement in this investigation,I am aware ofthe following:
                   a. International Travel and Banking Transactions
             i.       On November 7, 2016, LACEY met with two bank employees, Lin
Howard and Abran Villegas of Arizona Bank & Trust, in Phoenix, Arizona. Both employees
were subsequently interviewed by law enforcement agents concerning their November 7th
meeting with LACEY.
             ii.      Howard stated LACEY asked her how assets get seized and how asserts
can be protected from seizure. LACEY informed Howard that he had just been released from
jail in California and that one of his attorneys had put their house up for his [LACEY's] bond.
Howard did not provide LACEY with any advice, in fact, she was shocked that LACEY would
ask her such a question. LACEY proceeded to tell Howard that his attorney told him[LACEY]
about the Cook Islands and places around the world such as Nevis, were good places to protect
his assets. LACEY told Howard that he was not looking to avoid paying taxes; he was trying to
put a percentage ofhis assets offshore to protect them from government seizure. After the
meeting with LACEY,Howard started doing research on LACEY,his transactions, and also
reached out to Arizona Bank & Trust's Anti-Money Laundering Group. Based on this, Howard
learned that LACEY was not following the bank's procedures for wire transfers and the wires
being transferred in and out of LACEY's accounts appeared to be money laundering. Howard
also told the interviewing agents that she has worked in banking in Arizona for the past 10-11
years and prior to her conversation with LACEY,she has never had a conversation with anyone
about moving their money offshore. Howard said she was in disbelief that LACEY attempted to
seek her advice in moving money offshore or ask the bank's opinion on moving assets.

            iii.       Villegas recalled LACEY asking him and Howard for recommendations
as to where he could put his money to protect it from being seized. Villegas did not remember
where specifically LACEY said he was going to take his money,but reiterated that LACEY was
asking for recommendations for someone to help him shield his assets. Similar to Howard,
Villegas did not provide LACEY with any recommendations. LACEY informed Villegas that
his [LACEY] attorney is the trustee on LACEY's accounts and the attorney told LACEY about
ways to shield his money and accounts. Villegas said LACEY mentioned that he sold Village
Voice Media and Backpage and told Villegas that he was living off the proceeds ofthose sales.
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Villegas said that, in addition to the conversation about hiding his assets, LACEY talked to
Villegas about his accounts and asked him to perform some wire transfers. When asked about a
$12 million wire transfer [note: this should be $16.5 million wire transfer] that was wired out of
LACEY's account in December 2016, Villegas said he was on vacation at the time ofthe wire
transfer and said the wire was a "surprise" to him. Villegas said Arizona Bank & Trust later
decided to sever its relationship with LACEY. Villegas said LACEY called Villegas and asked
him why he was being pressured by the bank to close LACEY's accounts. LACEY further told
Villegas that he had not yet been convicted and that he was being treated as if he was "guilty
until proven innocent." LACEY also said that the money in his account was from legitimate cash
flow. Villegas said he explained to LACEY that he was not being pressured and that Arizona
Bank & Trust's reputation was at risk. Villegas said he has been in banking since 1999 and has
never had anyone ask him how to hide assets or move money offshore.

            iv.        On December 29, 2016,five wire transfers of$3.3 million USD each (i.e.,
a total of$16.5 million USD)were sent from LACEY's trust/bank accounts at Arizona Bank &
Trust(also known as Dubuque Bank and Trust), to a different American bank account. The
recipient account, Johnson Bank in Arizona, is a trust account held by Becker & House,PLLC.
One day later, on December 30,2016, the attorney submitted a request to transfer the entire
$16.5 million to an account at K&H Bank in Budapest, Hungary held by an entity called Primus
Trust Co. The request was approved and the $16.5 million wire transfer to K&H Bank in
Hungary occurred on January 3, 2017.

               v.      On May 15, 2017,SPEAR opened a safe deposit box at National Bank of
Arizona. On April 3, 2018,a bank employee stated that SPEAR opened the safe deposit box at
approximately the same time as $750,000 in cashier's checks were purchased. The cashier's
checks were paid for by a National Bank ofArizona account belonging to SPEAR. The same
employee stated that there is a possibility that the cashier's checks could be located in the safe
deposit box.

               vi.     As discussed in the indictment, Backpage and its principals have utilized
crypto currency as a means to facilitate prostitution and money laundering. For example,
between September 4, 2015,and November 23, 2015,Backpage customers bought about one
million "adult" ads with bitcoin, which Backpage then sold to a third-party for approximately
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$8.6 million. These funds were sent from international bank accounts into Backpage-controlled
domestic accounts. Some of the funds were then sent to Backpage principals such as LACEY
and LARKIN.

           vii.       The investigation has also revealed other evidence that LARKIN and other
Backpage principals have utilized bitcoin and other crypto currency in furtherance of money
laundetting efforts. Members of the investigative team have reviewed record of the following
accounts: Branch Banking & Trust account number ending in -2008, belonging to Website
Technologies(which, as discussed in the indictment, is a Backpage-related entity), held in
Arizona("BBT Account"); Arizona Bank & Trust account number ending in -6211 belonging to
Cereus Properties(which, as discussed in the indictment, is another Backpage-related entity),
held in Arizona("AZBT Account"); and Charles Schwab account number ending in -4693 in the
name of LARKIN ("Schwab Account"). Additionally, investigators have reviewed GoCoin
transactions related to certain ads posted on Backpage, specifically including ads that related to
victims A.C., S.F., T.S., S.L., K.O., and R.W,several of whom were minors when they were
trafficked. Finally, investigators have reviewed emails associated with the email addresses used
to post some ofthe ads promoting the trafficking of A.C., S.F., T.S., S.L., K.O., and R.W. From
this review, investigators have observed the following:

                              1. On September 6, 2015, a bitcoin account associated with the
                                 owner ofthe email address who trafficked A.C, and S.F. paid
                                 Backpage about $4 worth of bitcoin in order to post an ad
                                 promoting the trafficking ofthose victims in Palm Springs,
                                 California.

                             2. On September 15, 2015, an email from the same email address
                                 owner indicated a payment to Backpage of about $8 worth of
                                 bitcoin in order to "Fund Account" for
                                 palmsprings,backpage.com. Based on information learned
                                 through this investigation, it is believed that to "Fund Account"
                                  means that the email address owner provided bitcoin to
                                  Backpage as payment for credit to be used at a later time to pay
                                 for Backpage ads.
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                3. On October 6, 2015,the same email address owner paid
                   Backpage about $1 worth ofbitcoin to "Fund Account" on
                   palmsprings.backpage.com.

               4. On October 30,2015,.a bitcoin account associated with the
                   owner ofthe email address who trafficked T.S., S.L., K.O., and
                   R.W. paid Backpage about $1 worth of bitcoin in order to post
                   an ad promoting the trafficking ofthose victims in Columbus,
                   Ohio.
                5. On November 2, 2015, this same email address owner paid
                   Backpage about $1 worth of bitcoin to "Move Ad to Top of
                   Listings" in the Columbus, Ohio Backpage ads.
                6. On November 21, 2015,this same email address owner paid
                   Backpage about $1 worth of bitcoin to Backpage for credit for
                   that email owner's Backpage ad account.
                7. Between September 4, 2015, and November 23, 2015,
                   Backpage customers bought about one million "adult" ads from
                   Backpage with bitcoin; which Backpage then sold to GoCoin
                   for approximately $8.6 million. Included among the bitcoin
                   sold to GoCoin during this period were the six payments the
                   pimps made to Backpage to purchase ads to promote child
                   prostitution.
                8. Between December 14, 2015, and December 29, 2015, a
                   GoCoin account held in Slovakia wircd over $1.25 million to
                   the BBT Account in the United States. Based on a review of
                   GoCoin's financial records and GoCoin's pattern ofpayments
                   to Backpage for bitcoin sales, it is believed that this $1.25
                   million represented GoCoin's partial payment to Backpage for
                   the bitcoin Backpage sold to GoCoin during the period of
                   September 4,2015,through November 23,2015.
                9. On December 31,2015, the BBT Account wired $811,424 to
                   the AZBT Account.
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                              10. On January 11,2016,the AZBT Account wired approximately
                                  $1.3 million to LARKIN's Schwab Account.
                              1 1. From LARICIN's Schwab Account,over the period of March
                                  2016 through January 2017,almost $1,100,000 was sent to pay
                                  for services and for a property LARKIN owns in France.
                              12. These transactions show that LARKIN has benefited from
                                  millions ofdollars ofrevenue derived from illicit prostitution
                                  ads. Additionally, these transactions show that LARKIN has
                                  moved funds between accounts before eventually sending these
                                  funds to pay for properties he holds abroad. This layering
                                  suggests that LARKIN strategically moves funds to evade
                                  seizure by law enforcement. The complexity ofthe transactions
                                  also suggests that LARKIN is actively engaged in concealment
                                  of illicit funds.
           viii.       Based on my review of records in this investigation and my discussions
with other law enforcement personnel in this investigation, I also know that the Backpage
Operators have also used various other financial vehicles to conducting their money laundering
to include: wire transfers, checks, direct deposits, cash, and gift cards.

            ix.        Both LACEY and LARKIN engage in international travel. The
investigation shows LACEY recently traveled to Mexico. When LACEY returned to Phoenix,
Arizona from Mexico on February 28,2018, he was in possession of$3,000.00 in U.S. Currency.
LACEY is scheduled to depart Phoenix, Arizona on April 9,2018,for a three week trip to Spain
and Portugal.

             x.         LARKIN purchased an apartment home in Paris, France in 2016 and has
spent approximately $100,000 remodeling the apartment. LARKIN holds bank account in
Australia, France,and Switzerland. From February 16, 2018 -- February 24, 2018,LARKIN
traveled from San Francisco, California to Paris, France. LARICIN also departed San Francisco,
California on March 30,2018, for Dublin, Ireland. He is expected to return to Phoenix, Arizona
on April 6, 2018.
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            xi.            Both LACEY and LARKIN own properties domestically as well. These
properties were acquired after 2010 in Arizona, California, and Illinois. They are valued at over
$25,000,000.

       a.                  Probable Cause for each Subject Location
               i.          The property located at 3300 East Stella Lane,Paradise Valley, Arizona
85253 was purchased by LACEY on November 18, 2005. A loan secured by the property was
obtained by LACEY on June 23, 2010 and a house was built in 2011. A utility check was
conducted on March 29,2018, and records reveal the utilities are being paid by LACEY.
LACEY was seen by surveillance units turning into this residence on March 29, 2018. On April
3,2018, LACEY's wife was observed leaving the home and their cars were observed parked on
the property as well. A search ofthe Arizona Department of Motor Vehicles database on March
27, 2018, revealed Arizona Driver's License Number D01375492 was issued to Michael Gerard
LACEY at 3300 E. Stella Lane, Paradise Valley, Arizona 85253 was issued on January 22, 2017.
Additionally, the following vehicles are registered to LACEY at 3300 E. Stella Lane,Paradise
Valley, Arizona 85253:(1)a 2014 Jaguar, VIN SAJWA4HA1EMB52384,Arizona License Plate
number BKA4866 and(2) a 2010 Dodge, VIN 1D7RV1CT2AS158579, Arizona License Plate
number CA35324.

                  ii.      The property located at 10647 North State Route 89A, Sedona, Arizona
86336 was purchased by LACEY on September 5,2013. The property is located on over an acre
ofland with a house located on the property overlooking a creek, typical of a Scdona, Arizona
vacation property. A special warranty deed was filed by LACEY on March 29,2017, where
LACEY granted the property to Creek Hideway LLC,a Delaware limited liability company for
$0. The address associated with Creek Hideway LLC is 3300 East Stella Lane, Paradise Valley,
Arizona. A utility check was conducted on March 29,2018,that revealed utilities are currently
being paid by Michael LACEY. Per open source internet searches, the property is not currently
for rent or sale.

                    iii.   The property located at 5555 North Casa Blanca Drive, Paradise Valley,
Arizona 85253 was purchased by LARKIN on October 21,2005. The property was conveyed to
the Ocotillo Family Trust, in care of James and Margaret LARKIN,Trustees, on March 12,
2015. LARKIN deeded the property to Margaret LARKIN on March 9,2017, as sole and
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separate property. A search ofthe Arizona Department of Motor Vehicles database on March
27, 2018, revealed that on May 16, 2016, James Anthony LARKIN was issued Arizona Driver's
License Number D05996617,listing his address as 5555 North Casa Blanca Drive, Paradise
Valley, Arizona 85253. Additionally, the following vehicles are registered to James and
Margaret LARKIN at 5555 North Casa Blanca Drive,Paradise Drive, Arizona 85253:(1)a 2014
Porshe, VIN WPOAB2A92ES121390, Arizona License Plate number BA6385,(2)a 1972 BMW,
VIN 2240110, Arizona License Plate number BKM5166,(3) a 2016 Mercedes, VIN
4.1GDF7EE5GA675517, Arizona License Plate number BA6381, and(4) a 2016 BMW,YIN
WBXHT3C30G5F65711,Arizona License Plate number BVS4831. A utility check was
conducted on March 27, 2018 that revealed the utilities were paid in March 2018 by LARKIN.

       4,     Safe deposit box number ending in -7224 located at National Bank of Arizona,
7275 East Doubletree Ranch Road, Scottsdale, Arizona 85258 is held in the name of Scott and
Elona SPEAR. On or about May 15, 2017, the safe deposit box was opened by SPEAR using
$98 offunds from a Branch Banking & Trust account number ending in - 2008. This bank
account belongs to Website Technologies, a Backpage-related entity that is held in Arizona.
From 2015 — 2016, bank accounts belonging to Website Technologies received wire transfers
from foreign accounts totaling over $100 million dollars. Wire transfers and checks drawn off of
these bank accounts were used to facilitate and promote prostitution and also funneled money
into other accounts directly benefiting LACEY,LARKIN,and SPEAR. This safe deposit has
only been accessed by SPEAR and was last accessed on December 8,2017.

       5.      I know from my training and experience that individuals will keep documents
relating to their own illegal profits from fraudulent schemes and the laundering ofthose profits in
their homes. This is because the documents concern their own personal finances and assets as
opposed to the finances of the business and they wish to keep documents relating to such private
matters in a place to which other individuals have limited access.

       6.      1 know from my training and experience that individuals who gain proceeds from
illegal activities will need to launder those proceeds in order to conceal the source oftheir funds
and often do so by purchasing assets in other individuals' names or depositing them in bank
accounts in the names of other individuals, and transferring assets into the names of other
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 individuals. Individuals who want to hide illicitly gained proceeds will also use cash to eliminate
 a paper trail.

         7.       I know from my training and experience that individuals who keep large amounts
 ofcurrency at their residence,in a safety deposit box, or on their person take extra measures to
 secure and protect that currency. Given that the main source of income for LACEY,LARKIN
 and SPEAR,since at least 2008, has been from Backpage proceeds, and because a majority of
 those proceeds are traceable to prostitution and sex trafficking ads, I believe that the safe deposit
 box will contain valuables, cash and/or other monetary instruments.

        8.        Computer hardware,software, documentation, passwords,and data security
 devices may be important to a criminal investigation in two distinct important respects:(1)the
 objects themselves may be instrumentalities, fruits, or evidence ofcrime(s), and/or(2)the
 objects may have been used to collect and store information about crimes in the form of
 electronic data. Rule 41 of the Federal Rules of Criminal Procedure permits the government to
 search and seize computer hardware, software, documentation, passwords, and data security
 devices which are(1)instrumentalities, fruits, or evidence of crime; or(2)storage devices for
 information about a crime.

V.       Search Methodology to be Employed


                  1. It would be extremely difficult, if not impossible to
 conduct a thorough on-site review of all ofthe potential evidence in this case. Given these
 constraints, the search methodology to be employed is as follows:
                  2. All computers, computer hardware and any form of
 electronic storage that could contain evidence described in this warrant will be seized for an off-

 site search for evidence/assets as described in the attachments of this warrant. It is anticipated
 that mirror copies or images ofsuch evidence will be made if the failure to do so could otherwise
 potentially alter the original evidence.
                  3. Consistent with the information provided within
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  this affidavit, contextual information necessary to understand the evidence and to establish
  admissibility ofthe evidence in subsequent legal proceedings will also be sought by investigative

  agents.

                  4. Additional techniques to be employed in analyzing

  the seized items will include(1)surveying various file directories and the individual files they

  contain,(2)opening files to determine their contents,(3)scanning storage areas,(4)performing

  key word searches through all electronic storage areas to determine whether occurrences of

  language contained in such storage areas exist that are likely to appear in the evidence described

  in this affidavit and attachments, and(5)performing any other data analysis techniques that may

  be necessary to locate and retrieve the evidence/assets described in this affidavit and it

  attachments.


VI.         Conclusion
             1.     Based on the facts and circumstances stated above, there is probable cause to

  believe that items ofevidence as well as assets derived from illicit activity are located in the

      aforementioned locations.




                                               Amy L. Fryberger
                                               FBI Special Agent




      Subsep:bed to and sworn to me
           ` day of April, 2018
      this '
           ‘
           )
           ,




      Honorable Eileen S. Willett
      United States Magistrate Judge
